716 F.2d 915
    230 U.S.App.D.C. 264
    SIERRA CLUB, Petitioner,v.William D. RUCKELSHAUS, Administrator, EnvironmentalProtection Agency, Respondent,National Coal Association, Alabama Power Company, et al.,Intervenors.And Consolidated Cases.
    No. 79-1565.
    United States Court of Appeals,District of Columbia Circuit.
    Aug. 18, 1983.
    
      Before WALD and GINSBURG, Circuit Judges, and ROBB, Senior Circuit judge.
      ORDER
      PER CURIAM.
    
    
      1
      On consideration of the judgment of the Supreme Court of the United States, --- U.S. ----, 103 S.Ct. 3274, 77 L.Ed.2d 938, dated July 1, 1983, it is
    
    
      2
      ORDERED by the Court that that part of the order of February 5, 1982 finding an award of attorneys' fees to the Sierra Club and the Environmental Defense Fund appropriate is vacated and it is
    
    
      3
      FURTHER ORDERED by the Court that the per curiam opinion and fee award filed on July 16, 1982 are vacated.
    
    
      4
      The Clerk is directed to transmit the mandate of this Court as promptly as the business of his office permits.
    
    